EXHIBIT 3
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION
BANK POLICY INSTITUTE, OHIO CHAM-
BER OF COMMERCE, OHIO BANKERS
LEAGUE, AMERICAN BANKERS ASSOCI-
ATION and CHAMBER OF COMMERCE OF
THE UNITED STATES OF AMERICA,                      Case No. 2:24-cv-04300
                                                   District Judge Algenon L. Marbley
                      Plaintiffs,                  Magistrate Judge Chelsey M. Vascura
       v.

BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM,

                      Defendant.


                                    Declaration of Donald Boyd

       1.      My name is Donald Boyd and I am the Vice President, State Government Relations

and General Counsel of Plaintiff Ohio Bankers League.

       2.      Unless otherwise stated, this Declaration is based upon my personal knowledge and

belief and/or upon my review of business records of the Ohio Bankers League. If called as a

witness, I could and would testify competently thereto.

       3.      The Ohio Bankers League is a voluntary trade association supporting the banking

industry—including commercial banks, savings banks, and savings and loan associations—in the

State of Ohio. The Ohio Bankers League has numerous members that are the principal bank sub-

sidiaries of bank holding companies that are subject to the Board of Governors of the Federal

Reserve System’s stress tests and stress-capital buffer—including Bank of America, N.A.; Citi-

bank, N.A.; Fifth Third Bank, N.A.; Huntington National Bank; JPMorgan Chase Bank, N.A.; The
PNC Bank, N.A.; U.S. Bank, N.A.; and Wells Fargo Bank, N.A. Five of these members or their

affiliates are headquartered in Ohio and six have substantial operations in Ohio.

        4.      A core part of OBL’s mission is to support common-sense policies allowing

banks of all sizes to better serve their customers and communities. OBL continuously advocates

for a regulatory framework that is uniform and transparent, with public confidence in the finan-

cial system at the forefront. Bank regulations have significant real-world consequences that

stretch far beyond the regulated entities themselves. These regulations affect the stability of the

financial system, growth in under-served communities, and the cost and availability of financial

products and services for consumers and businesses.

        5.      The actions challenged in this case conflict with the Ohio Bankers League’s policy

objectives, and challenging the actions is germane to the organizational purpose of the Ohio Bank-

ers League. The Ohio Bankers League supports and advocates for banks that are subject to the

stress tests.

        6.      The Ohio Bankers League maintains its principal place of business in Columbus,

Ohio.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this 19th day of March, 2025 at Columbus, Ohio.




                                                      Donald T. Boyd

                                                      On behalf of the Ohio Bankers League




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